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                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND


      KRISTEN PIERSON,                                         Case No. 1:22-cv-00219-WES-PAS

      Plaintiff,

      v.                                                       STANDARD PRETRIAL ORDER

      GOLOCALPROV, LLC, and THE FENTON
      GROUP, LLC,

      Defendants.


              Pursuant to Rule 16 of the Federal Rules of Civil Procedure, it is ordered that:

           1. All factual discovery will be closed by February 24, 2023.

           2. All expert discovery will be closed by May 24, 2023.

           3. Dispositive motions1 shall be filed by August 24, 2023.

           4. Plaintiff shall make its expert witness disclosures as required by F. R. Civ. P. 26(a)(2) by

              March 10, 2023.

           5. Defendant shall make its expert witness disclosures as required by F. R. Civ. P. 26(a)(2)

              by April 10, 2023. (Any expert witness not disclosed by these dates may not be allowed to

              testify unless authorized by the Court. See F. R. Civ. P. 37(c))

           6. Counsel shall file electronically, 30 days after a decision on any dispositive motion, or, if

              no dispositive motions are filed, by September 25, 2023, a pretrial memorandum which

              shall contain the following information:

              (a)     Plaintiff will set forth what is expected to be proven in support of the claim;

              (b)     Defendant will set forth what is expected to be proven in defense;


  1
    In matters before Judge Smith, prior to filing a motion for summary judgment, counsel must
  request a conference with the Court.
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         (c)     A memorandum of supporting law with citations of authorities. This is to include

                 all the law applicable to the case with emphasis on special legal issues, including

                 any and all matters that may be the subject of a motion in limine. All pertinent

                 citations will be fully briefed;

         (d)     A statement as to probable length of trial; and

         (e)     Any additional matter which counsel feel will aid the Court in the disposition and/or

                 trial of the action.

     7. At least fourteen (14) days before jury selection or, in the case of a matter to be tried

         without a jury, fourteen (14) days before trial is to begin, counsel shall submit to the Court

         in conventional form (paper) the following:

         (a)     A list of all witnesses expected to testify with a brief summary of each witness’s

                 testimony and a statement as to whether that witness will testify as an expert;

         (b)     A list of all exhibits intended to be offered at the trial with statements of the purpose

                 for which the exhibit is offered. All such exhibits are to be pre-marked by the

                 plaintiff in numerical order and by the defendant in alphabetical order; and

         (c)     If the case is to be tried before a jury, full and complete proposed jury instructions.

                 In matters to be tried before a jury, counsel will supply a jury verdict form (with

                 special interrogatories, if any are being requested).

         Failure to strictly comply with this order will result in appropriate sanctions which may

  include dismissal, default, or exclusion of evidence. After fourteen (14) days from the close of

  discovery, no motions – other than motions in limine – shall be filed except by leave of the

  undersigned.
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         Every effort should be made to settle the case before jurors are summoned for

  empanelment. Counsel are to advise the clerk of any such settlement and file a stipulation of

  dismissal no later than seven (7) days before the scheduled empanelment date. Jury costs

  and/or counsel fees may be assessed against one or more of the parties and/or counsel if the Court

  determines that the lateness of settlement was due to unreasonable or vexatious conduct or neglect.

  SO ORDERED.



  ____________________________________
  Hon. William E. Smith
  United States District Judge
  Dated:
